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3                              UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

5                                                ***

6      BRANDON GUEVARA-PONTIFES,                    Case No. 3:20-cv-00652-MMD-WGC

7                                  Petitioner,                       ORDER
             v.
8
       RENEE BAKER, et al.,
9
                               Respondents.
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11          Respondents have filed an unopposed motion for enlargement of time (first

12    request) (ECF No. 20). The Court finds the request is made in good faith and not solely

13    for the purpose of delay, and therefore good cause exists to grant the motion for

14    enlargement of time.

15          It is therefore ordered that Respondents’ motion for enlargement of time (first

16    request) (ECF No. 20) is granted. Respondents will have up to and including January 21,

17    2022, to file an answer or other response to the first amended petition.

18          DATED THIS 1st Day of December 2021.

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                                                 MIRANDA M. DU
21                                               CHIEF UNITED STATES DISTRICT JUDGE

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